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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

CLERK'S MINUTES

CASE No. 8:21-mj-1148-TGW DATE: FEBRUARY 16, 2021

HONORABLE THOMAS G. WILSON

UNITED STATES OF AMERICA AUSA DANIEL GEORGE
-V-

GRAYDON YOUNG ROBERT FOLEY (RET.)
INTERPRETER: N/A TIME: 3:17 -3:53 (36 min)
DEPUTY CLERK: CALEB HOUSTON COURTROOM 12A
COURT REPORTER: N/A TAPE: DIGITAL

PROCEEDING: RULE 5/32.1 INITIAL APPEARANCE

xX

 

 

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Defendant advised of charges in Complaint from the District of
Columbia (Case No, 1:21-mj-225)

Arrest Date: 2/15/2021
Court reviews government’s obligations under Brady v. Maryland
Court advises defendant of Rule 5 and Rule 20 rights and charges

Preliminary hearing requested by defendant. Preliminary hearing
continued until 2/19/21 at 1:30pm.

Bond/Detention:

Government: Requests detention as risk of flight and danger to
the community; presumption applies; evidence against the
defendant is strong; crime of violence with a use of force;
destroyed evidence; firearms, gas mask, and knife found at
defendant’s home; defendant has property in rural part of
Tennessee and indicated he planned to move there; defendant
also has family in North Carolina and has a boat.

Defendant: Requests bond; willing to surrender firearms and
passport; no history of violence; defendant and his wife own a
business and have strong ties to the community; defendant self-
surrendered upon becoming aware of warrant.
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Court: Defendant to be detained pending probable cause hearing
on 2/19/21.

x Defendant remanded to custody of U.S. Marshal.
